This is an action for a real estate broker's commission. The defendant filed a general denial. Judgment was rendered for the plaintiff, and from it the defendant appealed. He assigned error in the refusal of the court to find certain facts, in the finding of certain other facts, and in the conclusions of law. In his argument before the Appellate Division, he abandoned his entire assignment of errors and raised for the first time the defense of illegality of the contract, this defense not having been raised in the pleadings nor on the trial of the issues nor in the assignment of errors.
We do not consider claims of error which are not specifically included in the assignment of errors, which are not raised at the trial, and which are not ruled upon and decided by the court adversely to the appellant. Cir. Ct. Rule 7.51.1; Practice Book *Page 390 
§§ 409, 154; Shakro v. Haddad, 149 Conn. 160, 163;Jeschor v. Guilford, 143 Conn. 152, 156.
   There is no error.
In this opinion O'BRIEN and MATZKIN, JS., concurred.